     Case 1:09-cr-00350-DAD-BAM Document 101 Filed 09/24/10 Page 1 of 2


 1       J.M. IRIGOYEN #177626
         J.M. IRIGOYEN LAW CORPORATION
 2       2131 Amador
         Fresno, CA 93721
 3
         (559) 233-3333
 4
         Attorney for Defendant
 5       RAMON CONTRERAS
 6
 7
 8                     UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11       UNITED STATES OF AMERICA,  )          Case No: 09-cr-350 AWI
                                    )
12            Plaintiff,            )          STIPULATION TO CONTINUE
                                    )          SENTENCING AND
13            v.                    )          ORDER
                                    )
14       RAMON CONTRERAS,           )
                                    )
15            Defendant.            )
         ___________________________)
16
                                        * * * *
17
               It is stipulated and agreed between the parties that
18
         sentencing in the above matter currently set for Monday,
19
         September 27, 2010, be continued to November 1, 2010 at
20
         1:30 p.m.
21
               I hereby agree to the above stipulation.
22
         Dated: September 22, 2010
23
24                                             /s/J.M. Irigoyen
                                               J.M. Irigoyen
25
26
27
28
                                           1
     Case 1:09-cr-00350-DAD-BAM Document 101 Filed 09/24/10 Page 2 of 2


 1
 2             I hereby agree to the above stipulation.
 3       Dated: September 22, 2010
 4                                        s/Yassin Mohammad
                                          Yassin Mohammad
 5                                        Assistant U.S. Attorney
 6
 7
                                         ORDER
 8
 9
         IT IS SO ORDERED.
10
11       Dated:        September 23, 2010
         0m8i78                 CHIEF UNITED STATES DISTRICT JUDGE
12
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